Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 1 of 8

                            Exhibit 1




                            Exhibit 1
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 2 of 8




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

                                    )
LIBERTY MEDIA HOLDINGS, LLC         )                Case No. 2:12-cv-00923-LRH -GWF
                                    )
Plaintiff,                          )
                                    )
vs.                                 )
                                    )
SERGEJ LETYAGIN, d/b/a              )
SUNPORNO.COM, IDEAL CONSULT, )
LTD., “ADVERT”, “CASTA”,            )
“TRIKSTER”, “WORKER”, “LIKIS”,      )
“TESTER” and DOES 1-50              )
                                    )
Defendants                          )
                                    )
___________________________________ )

                            AFFIDAVIT OF SERGEJ LETYAGIN

       Sergej Letyagin, being duly sword, does hereby depose and state:

       1.      My name is Sergej Letyagin. Unless otherwise stated, I make this affidavit of my

own personal knowledge.

       2.      I am a full-time resident of the Czech Republic. I have never resided in (or

visited) Nevada. Indeed, I have never resided in or visited the United States.

       3.      I have lived at my current address in the Czech Republic continuously for over

three years and have not moved during that time.

       4.      Liberty Media Holding’s counsel, Mr. Marc Randazza, has sent me mail at my

home address in late 2011 pertaining to an identical lawsuit filed by him in Florida on behalf of

the same plaintiffs and against the same defendants as are named in the present action. A copy

of the letter than Mr. Randazza sent to my home is attached hereto as Exhibit 1. I have redacted




                                                1
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 3 of 8




my address on the letter because I am concerned about my privacy in this case as it is likely to be

widely publicized.

       5.      Since I received at my home address correspondence from Mr. Randazza

regarding past litigation, I cannot understand why he would represent to the Court that my

“actual whereabouts are unknown, and likely to change on a regular basis due to [my] criminal

nature and criminal activities.” This is untrue and highly offensive.

       6.      Ideal Consult, Ltd. (“Ideal”) is a company headquartered in the Republic of

Seychelles. I am the Director of Technology for Ideal. In this role, I am responsible for (among

other things) the registration of Ideal’s websites.

       7.      In late 2011, Mr. Randazza also sent by mail to Ideal’s registered agent in

Seychelles the complaint to the identical lawsuit filed by him in Florida as described above. As I

understand it, this would suggest that Mr. Randazza knows how to properly serve Ideal and that

Ideal is not just a “sham entity” or “merely [my] alter ego.”

       8.      I do not now (nor have I ever) owned SunPorno.com individually.

       9.      Ideal owns and operates SunPorno.com in addition to over a thousand other

different websites, primarily offering adult entertainment.

       10.     Ideal does not maintain (and has never maintained) any servers within Nevada,

has no employees in (and has never had any in) Nevada, does not advertise in (and has never

advertised in) Nevada, owns no real estate in (and has never owned any real estate in) Nevada,

pays no taxes in (and has never paid taxes in) Nevada, and has no bank accounts in (and has

never had any bank accounts in) Nevada. Neither Ideal nor SunPorno.com are registered to do

business in Nevada (nor have they ever been so registered).




                                                  2
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 4 of 8




       11.     Ideal does not own any servers in the United States. Ideal contracts with a third-

party, Profitrade PLC, doing business as “AdvancedHosters,” for the provision of servers.

Profitrade is a corporation organized in the Commonwealth of Dominica and headquartered in

the Commonwealth of Dominica. Ideal has no control over where its servers are located - this

decision is made entirely by Profitrade. Profitrade has informed Ideal that it Profitrade maintains

servers in Holland and the United States and that the servers servicing the SunPorno.com website

are located in Virginia and other locations outside the United States, but I stress that Ideal has not

selected or requested these locations. In short, Ideal has entered into a contractual arrangement

with a Dominican company to provide it server space. It has no such contractual arrangements

with any entity located in Nevada or the United States.

       12.     Furthermore, Ideal does not advertise (and has not advertised) anywhere in the

United States, owns no real estate (and has never owned any real estate) anywhere in the United

States, pays no taxes (and has never paid taxes) anywhere in the United States, and has no bank

accounts (and has never had any bank accounts) anywhere in the United States. Neither Ideal

nor SunPorno.com are registered to do business anywhere in the United States (nor have they

ever been so registered).

       13.     Although I presume that it goes without saying, I personally have no ties to

Nevada or the United States in general. I do not maintain any servers in either, do not advertise

in either, do not own real estate in either, and have no bank accounts in either.

       14.     Ideal first obtained the already-existing website, SunPorno.com, along with a

number of other websites in July of 2011 from a previous owner.

       15.     When Ideal first obtained the SunPorno.com domain name, it was registered with

the domain name registrar and privacy service Moniker which had been selected by



                                                  3
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 5 of 8




SunPorno.com’s former owners. But in August of 2011, just about a month after it purchased

SunPorno.com and in reviewing its business costs, Ideal decided that it could obtain domain

registration and privacy services at a lower cost with EvoNames.

       16.      Starting in September 2011, Ideal began transferring its thousands of domain

names, including SunPorno.com to EvoNames. The transfer of domain name registrars had

nothing to do with any litigation and everything to do with Ideal’s desire to reduce its registration

and privacy services costs.

       17.      Currently, as is easily visible on its WhoIs record, SunPorno.com is registered

with that same domain name registrar EvoNames, which is a subsidiary of EvoPlus Ltd and is

not based in the United States. SunPorno.com uses only EvoNames for its registration and

privacy services. EvoNames, under the name of “WhoisProtectService.net” has its registration

contact addresses in the United Kingdom. The SunPorno.com domain name has been

continuously registered with EvoNames and only EvoNames since late 2011.

       18.      I understand that Liberty Media suggests that the SunPorno.com website is

available in the United States and that the “loss of the U.S. market would be devastating to it.”

To me this seems to be a simple fact applicable to every business in the entire world because it is

uncontroversial that the United States is the biggest consumer of all types of goods and services

on Earth. I believe that the loss of the U.S. market would be devastating even to coffee growers

in Indonesia.

       19.      I also understand that Liberty Media suggests that SunPorno’s use of English as

its language on its website means that it is aimed at an American audience. I don’t know how to

respond to this except to say that it is a silly statement. English is an international language. The

number of American visitors to SunPorno.com is a small percentage of the total visitors to



                                                 4
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 6 of 8




SunPorno. Therefore, assuming that Liberty Media is correct in stating that SunPorno.com uses

the English language to target Americans, does that mean that SunPorno.com has selected a

language so as to intentionally exclude the vast majority of its users? Again, the premise is silly.

       20.     Similarly, the allegation that the SunPorno website must be directed at American

visitors because advertisements appeared on the site showing porn star Ron Jeremy (an

American) is flat-out absurd. Putting aside the fact that ideal has no control over what

advertisements appear on the SunPorno.com site (as discussed below), this would be like saying

that an advertisement showing George Clooney could only be directed at the United States. Both

Mr. Clooney and Mr. Jeremy are international film stars (admittedly for different kinds of films)

and their appeal is not limited to any one country.

       21.     In any event, though, with respect to advertisements on SunPorno.com, Ideal has

no control over which advertisements are displayed. Ideal contracts with three advertising

network companies, ExoClick which is headquartered in Spain; Adxpansion, located in Canada;

and Ero-Advertising, located in Holland. These three companies provide the actual

advertisements displayed on the website; all Ideal does is provide banner advertising space on its

site and the advertising network companies then selects the advertisements that are displayed

when a person visits the website. This is the way that most advertising on the internet works.

       22.     When Liberty Media says that the advertisements “clearly target Americans,” it

knows that it is not being completely honest with the Court. Like all advertising networks,

ExoClick, Adxpansion, and Ero-Advertising gear their ads to the location of the user. Visitors in

France are shown French ads and visitors in Germany are shown German ads. Again, this has

nothing to do with Ideal. Ideal simply contracts with the (non-United States based) advertising

companies to provide banner space on its websites.



                                                 5
     Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 7 of 8




       23.     I understand that Liberty Media’s Complaint speaks about “premium

memberships” on SunPorno.com. Liberty Media either misunderstands the way the website

works or is not being forthcoming with the Court. Ideal does not itself offer any premium

memberships. It has, on occasion, been approached by other companies who provide adult video

memberships to enter into affiliate agreements with them. When Ideal has experimented with

these affiliate arrangements, the affiliate company creates what is known as a “white label site,”

which means they put SunPorno’s logo on a site which they create, own, and run. Currently, is

not even offering such an option since there seemed to be little interest in it. Once a visitor

clicked on the “premium membership” button, they were sent to a website which Ideal did not

control and could not control. Again, this type of relationship is very common in the adult

entertainment website industry and I must assume that Liberty Media is well aware that Ideal

was not in control of the premium site or its terms and conditions.

       24.     Ideal’s websites, including SunPorno, do not accept credit cards, nor has Ideal set

up any credit card accounts with Visa, Mastercard or American Express to accept such payments.



                     [SIGNATURE PAGE IMMEDIATELY FOLLOWS]




                                                  6
Case 2:12-cv-00923-LRH-GWF Document 16-1 Filed 07/02/12 Page 8 of 8
